          Case 8:18-cv-00422-AG-JDE Document 3 Filed 03/16/18 Page 1 of 1 Page ID #:27
 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
 OR OF PARTY APPEARING IN PRO PER
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 ATTORNEY(S) FOR:    Plaintiff
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
KATHY LIRA, individually and on behalf of all                                  CASE NUMBER:

others similarly situated,                                                                           8:18-cv-00422
                                                              Plaintiff(s),
                                     v.
BUMP BOXES, INC., an Illinois corporation; and
                                                                                              CERTIFICATION AND NOTICE
DOES 1 – 10, inclusive,
                                                                                                OF INTERESTED PARTIES
                                                             Defendant(s)                           (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                                 Plaintiff Kathy Lira
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                                 PARTY                                                    CONNECTION / INTEREST
Kathy Lira                                                                    Plaintiff

Bump Boxes, Inc.                                                              Defendant




         March 16, 2018                                    /s/ Scott J. Ferrell
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Plaintiff


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
